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                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

NATIONAL UNION FIRE
INSURANCE COMPANY of
PITTSBURGH, PA, as assignee and            CIVIL ACTION FILE NO:
subrogee,                                  1:18-CV-03701-ELR
       Plaintiff,
v.

PEGATRON CORPORATION,
       Defendant.

     PLAINTIFF’S NOTICE OF WITHDRAWAL OF “ADMINISTRATIVE
      REQUEST FOR ISSUANCE OF REQUEST FOR INTERNATIONAL
            JUDICIAL ASSISTANCE (LETTER ROGATORY)”

       COMES NOW, Defendant National Union Fire Insurance Company of

Pittsburgh, PA and hereby withdraws its Administrative Request for Issuance of

Request for International Judicial Assistance (Letter Rogatory) dated and filed on

September 18, 2019 (Doc. 4). Defendant has executed the waiver of service, and

Plaintiff hereby withdraws the present motion.

       Respectfully submitted this 4th day of October, 2018.

                                     GORDON REES SCULLY
                                     MANSUKHANI, LLP


                                      s/ Leslie K. Eason
                                      Leslie K. Eason
                                      Georgia Bar No. 100186
                                      3455 Peachtree Road NE
Case 1:18-cv-03701-ELR Document 6 Filed 10/04/18 Page 2 of 3



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                           Counsel for Plaintiff National Union Fire
                           Insurance Company of Pittsburgh, PA




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                                            CERTIFICATE OF SERVICE

                        I hereby certify that on this 4th day of October, 2018, I served a copy of the

                  foregoing pleading upon all parties to this matter by electronically filing the same

                  with the CM/ECF electronic filing system, which will cause a copy of the pleading

                  to be electronically served on all counsel of record.




                                                         GORDON REES SCULLY
                                                         MANSUKHANI, LLP

                                                         s/ Leslie K. Eason
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